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UNITED STATES DISTRICT COURT + ett
WESTERN DISTRICT OF NEW YORK We ~LOEWENGUS sae ww
UNITED STATES OF AMERICA 1:19-CR-227 JLS (MJR)

REPORT, RECOMMENDATION
AND ORDER

PETER GERACE, JR.,

Defendant.

 

This case has been referred to the undersigned by the Hon. John L. Sinatra, Jr.,
pursuant to 28 U.S.C. § 636(b)(1), for all pre-trial matters and to hear and report upon
dispositive motions. (Dkt. No. 4)

BACKGROUND

On February 25, 2021, a federal grand jury in the Western District of New York
returned an 18-count indictment against defendants Peter Gerace, Jr. and Joseph
Bongiovanni (the “Indictment”).! (Dkt. No. 89) Gerace is charged in Count 2 (conspiracy
to defraud the United States, in violation of Section 371 of Title 18 of the United States
Code); Count 6 (paying a bribe to a public official, in violation of Sections 201(b)(1)(A)
and 201(b)(1)(C) of Title 18 of the United States Code); Count 7 (maintaining a drug-

involved premises, in violation Section 856(a)(1) of Title 21 of the United States Code and

 

' The February 25, 2021 indictment was the second superseding indictment filed in this case.
The initial indictment, filed on November 31, 2019, charged defendant Bongiovanni only. (Dkt.
No. 1) The first superseding indictment, filed on June 4, 2020, charged Bongiovanni as well as
Michael Masecchia. (Dkt. No. 46) Defendant Masecchia entered a plea agreement with the
Government on December 9, 2020. (Dkt. Nos. 68, 69) Thus, defendants Bongiovanni and
Gerace are the current defendants charged in this matter and the second superseding
indictment is the operative charging document.
Section 2 of Title 18 of the United States Code); Count 8 (conspiracy to distribute
controlled substances, in violation Section 846 of Title 21 of the United States Code); and
Count 9 (conspiracy to commit sex trafficking, in violation of Section 1594(c) of Title 18 of
the United States Code). (/d.)

The Charges?

From in or around 2001, until his retirement on or about February 1, 2019, Joseph
Bongiovanni served as a Special Agent (“SA”) for the Drug Enforcement Agency (“DEA”)
and was assigned to the Buffalo, New York, DEA Resident Office. The Government
alleges that, during this time, Bongiovanni had friends and associates whom he knew to
be involved in the possession, use, and distribution of controlled substances. The
Government contends that it was Bongiovanni’s belief that some of these friends and
associates who were involved with narcotics distribution were also members of, or
connected to, Italian Organized Crime (“IOC”). It is alleged that Peter Gerace, Jr., the
owner and principal operator of Pharaoh’s Gentlemen’s Club (“Pharaoh’s), located at 999
Aero Drive, Cheektowaga, New York, was one such friend and associate of Bongiovanni.
Pharaoh’s is a commercial business where patrons can purchase food, beverages, and
dances with topless dancers or performers. The Government alleges that between 2009
and continuing to in or about February 2019, Bongiovanni, Gerace, and others conspired
to distribute cocaine, cocaine base, methamphetamine, amphetamine (commonly known
as Adderall), marijuana, and heroin, and that they conspired to utilize Pharaoh's to

facilitate the use, manufacture, and distribution of these controlled substances. Gerace

 

2 The information included in this section is taken from the Indictment. The Court has not
included every allegation contained in the Indictment, but instead has provided a summary of
the information and charges that are relevant to Gerace’s instant motions.

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purportedly also provided drugs and money to Pharaoh’s employees in exchange for sex
with Gerace and others. It is alleged that Gerace maintained a drug-involved premises at
Pharaoh's from 2006 through December 12, 2019 and that, between 2009 and 2018, he
conspired to engage in sex trafficking.

The Government further charges that beginning in or around 2005 through in or
around August 2019, Bongiovanni, Gerace, and others conspired to defraud the United
States and the DEA, in that Bongiovanni routinely used his position as SA for the DEA to
shield his friends and associates, including Gerace, from criminal prosecution for drug
trafficking. The Indictment alleges that Bongiovanni accepted cash bribes from Gerace
and others on a reoccurring basis over the course of the conspiracy. In return,
Bongiovanni purportedly used his position with the DEA to ensure that his friends and
associates, including Gerace, would not be investigated or prosecuted for narcotics
distribution.* The Government claims that Bongiovanni regularly provided information to
his friends and associates about the existence and status of DEA investigations and
cooperators. It is alleged that Bongiovanni also provided his friends and associates with
advice and guidance regarding law enforcement techniques to help them avoid arrest and
prosecution. It is further alleged that Bongiovanni would feign legitimate, active

investigations against his friends and associates in order to prevent other law

 

3 The Indictment alleges that Michael Masecchia, the co-defendant who has entered a guilty
plea, also conspired with Bongiovanni and others to defraud the United States and the DEA.
The Indictment alleges that Masecchia is a friend and associate of Bongiovanni and that
Masecchia is a member or associate of IOC in the Western District of New York and elsewhere.
Masecchia is alleged to have been involved in the distribution of controlled substances for over
twenty years and is alleged to have regularly bribed Bongiovanni in exchange for Bongiovanni’s
protection from investigation and prosecution over the course of the conspiracy.

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enforcement agents from investigating them, and also to ensure that any information
about those seeking to cooperate against them would be funneled to Bongiovanni.

Specifically with respect to Gerace, it is alleged that Bongiovanni (1) falsely
advised an FBI agent and others that Gerace was acting as Bongiovanni’s confidential
informant, thereby induing the agent to abandon a narcotics investigation into Gerace and
Pharaoh's; (2) created an official DEA 6 report which falsely stated that Gerace was a
DEA source; (3) made statements to other agents to dissuade them from investigating
Gerace and Pharaoh’s for narcotics trafficking; and (4) lied to members of the DEA about
the true nature of his relationship with Gerace as well as his connections with other
individuals he believed to be associated with Italian Organized Crime.

The Government contends that Bongiovanni engaged in this criminal activity for
the financial gain of at least $250,000, in the form of bribes paid by Gerace and others.
The Government also accuses Bongiovanni of engaging in this conduct to ingratiate
himself with individuals Bongiovanni believed were members of, or associated with, lOC.
The Government claims that on or about February 1, 2019, Bongiovanni removed, from
the DEA Buffalo Resident Office, a DEA working file containing, inter alia, an Organized
Crime Drug Enforcement Task Force investigation initiation form for “Operation Past
Due.” It is alleged that Bongiovanni removed this file without permission or authorization,
and that he concealed it in the basement of his residence. It is also alleged that on or
about February 1, 2019, Bongiovanni’s last day as SA for the DEA before his retirement,

Bongiovanni caused his DEA cell phone to be wiped clean of all data.
Gerace’s Motions

On July 12, 2021, Gerace filed pretrial motions seeking the following relief: (1)
suppression of evidence seized pursuant to search warrants; (2) the disclosure of grand
jury materials; (3) striking of prejudicial surplusage from the Indictment; (4) dismissal of
Count 7 and Count 9 of the Indictment; (5) production of a bill of particulars; (6) disclosure
of Brady material; (7) preservation of rough notes; (8) pre-trial notice pursuant to Federal
Rule of Evidence 807; (9) disclosure of impeachment materials for any hearsay declarant;
(10) joinder; (11) severance; and (12) leave to supplement or file further motions.* (Dkt.
Nos. 147, 148) The Government filed a response and a request for reciprocal discovery
on August 13, 2021. (Dkt. No. 178) Defendant filed a reply on August 27, 2021. (Dkt. No.
185) Gerace filed supplemental memorandums of law in support of his requests to strike
prejudicial surplusage from the Indictment and to obtain disclosure of grand jury evidence.
(Dkt. Nos. 250, 265) The Government filed a response to the supplemental briefs on April
21, 2022 and defendant filed a reply on April 25, 2022.5 (Dkt. No. 274, 277)

DISCUSSION
The Court will first address Gerace’s motion to suppress evidence and his motion

for dismissal of certain counts of the Indictment, before turning to his non-dispositive

 

4 Defendant Bongiovanni has also filed pretrial motions, including a motion to suppress evidence
obtained during a search of his cell phone. (Dkt. No. 81, 149) The Court will address
Bongiovanni’s pretrial motions, including his request for suppression of evidence and all other
dispositive and non-dispositive requests, in a separate Report, Recommendation and Order.
The Court notes here, however, that Bongiovanni’s pretrial motions include a request to join in
all pretrial motions made by co-defendant Gerace. (Dkt. No. 149, pg. 4) Bongiovanni’s request
for joinder is granted. Thus, to the extent applicable or relevant, any recommendations or
decisions made by this Court herein as to Gerace’s motions shall also be deemed a finding
and/or order as to defendant Bongiovanni.

5 Defendant Bongiovanni also specifically joined in the supplemental briefing requesting
disclosure of grand jury evidence and instructions. (Dkt. No. 265, 277)

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motions and other omnibus discovery demands as well as the Government's request for
reciprocal discovery.
Motion to Suppress Evidence

Gerace moves to suppress all evidence seized as a result of (1) the execution of
federal search warrants at his residence, 5145 Lexor Lane, Clarence, New York, on
November 29, 2019 and February 26, 2021; (2) the execution of a federal search warrant
at Pharaoh’s Gentlemen’s Club on November 29, 2019; and (3) the execution of a federal
search warrant to search the contents of a cell phone seized from him in Florida on
February 28, 2021.° (Dkt. No. 147, pgs. 12-14) The Court finds, for the following reasons,
that there is no basis to suppress evidence obtained from the searches of Gerace’s cell
phone, residence, and business.

Cell Phone Search Warrant

 

On March 12, 2021, United States Magistrate Judge H. Kenneth Schroeder, Jr.

signed a warrant authorizing the search of a cell phone seized by law enforcement, from

 

6 All three of the warrants challenged by Gerace are filed under seal. On April 28, 2021, Gerace
moved to unseal the applications, affidavits and attachments associated with these warrants.
(Dkt, No. 113) The issue was briefed and the Court heard oral argument, at which time the
Government indicated that it had provided defendant with a redacted version of the affidaivt
submitted in support of the application to search his cell phone, but that it was the Government’s
position that the remainder of the warrant applications should remain sealed. This Court denied
Gerace’s motion to unseal the remainder of the warrant applications on June 29, 2021. (Dkt. No.
138) Gerace moved for reconsideration and this Court denied his request. (Dkt. Nos. 151, 174)
Gerace appealed, and on November 1, 2021, presiding District Court Judge Sinatra affirmed
this Court’s denial of the motion to unseal the warrants. (Dkt. No. 208) On November 5, 2021,
Gerace filed a motion before the District Court asking it for “adoption of a search warrant
application disclosure order similar to that issued by the Court in United States v. Hawif, 2017
WL 3016794 (E.D.N.Y. 2017).” (Dkt. No. 210) Hawit permitted the deferred disclosure of search
warrant applications three months before trial, and defendants in that case were permitted to file
suppression motions following the deferred disclosure. On January 7, 2022, Judge Sinatra
issued an order stating that it would hold Gerace’s request based on Hawit in abeyance, and
that it would “revisit the basis for non-disclosure of the search warrant applications, in camera,
after a trial date is set.” (Dkt. 238)
Gerace, on February 28, 2021.” (See 1:21-MJ-00022) The warrant application was
supported by an affidavit from Curtis Ryan, Special Agent of Homeland Security
Investigations, United States Department of Homeland Security. (/d.) Agent Ryan’s
affidavit explained that on February 25, 2021, a federal grand jury indicted Gerace and
Bongiovanni, and that Gerace was specifically charged with conspiring to defraud the
government; paying a bribe to a public official; maintaining a drug-involved premises;
conspiring to distribute controlled substances; and conspiring to commit sex trafficking.
Ryan stated that Gerace was arrested on February 28, 2021, in the Southern District of
Florida, at which time law enforcement seized the subject cell phone from his person. (/d.)
Agent Ryan averred that a law enforcement investigation showed that Gerace used his
cell phone to communicate with co-conspirator Bongiovanni as well as with other
individuals who were previously charged with, or convicted of, drug trafficking and related
crimes. (/d.) Ryan also noted that witnesses reported seeing Gerace use cocaine and
provide cocaine to others. (/d.) Agent Ryan went on to aver that, based on his training
and experience, narcotics traffickers frequently use portable communication and storage
devices to maintain (1) addresses, email addresses, and telephone numbers related to
their drug trafficking activities; (2) photographs and information regarding drug trafficking
and their drug trafficking associates; and (3) bank and other financial records. (/d.) Ryan
stated that he believed, based on his training and experience, that Gerace utilized his cell
phone to contact other suppliers, co-conspirators, and customers regarding narcotics

distribution and the other crimes listed in the Indictment, and that these communications

 

7 In support of his motion to suppress, Gerace submitted a declaration stating that he was the
sole person who used and possessed the cell phone seized from him, by law enforcement, on
February 28, 2021. (Dkt. No. 113-2) Based on these averments, defendant has established
standing to challenge the search of the phone.
would be retained on the phone. (/d.) Based on Agent Ryan's representations, Judge
Schroeder found probable cause to issue the search warrant. (/d.)

Upon a challenge to a probable cause finding made in a search warrant, a
reviewing court must give deference to the issuing judge. //linois v. Gates, 462 U.S. 213,
236 (1969). The court is not to conduct a de novo review nor is it to “interpret[] affidavit[s]
in a hypertechnical, rather than a commonsense, manner.” /d. Instead, the role of a
reviewing court “is simply to ensure that the magistrate had a substantial basis for
concluding that probable cause existed.” /d. at 238 (internal citations omitted). To that
end, warrant affidavits are entitled to “a presumption of validity”, Franks v. Delaware, 438
U.S. 154, 171 (1978), and doubts regarding the existence of probable cause should be
resolved in favor of upholding the search warrant. See United States v. Travisano, 724
F.2d 341, 345 (2d Cir. 1983). Further, in determining whether probable cause exists to
issue a warrant, “the Court must look for a reasonable nexus between the criminal
activities described in the warrant application and the place to be searched.” United
States v. Nix, 15-CR-6126, 2016 U.S. Dist. LEXIS 181050 (W.D.N.Y. Apr. 25, 2016),
adopted by 2017 U.S. Dist. LEXIS 1680 (W.D.N.Y. Jan. 5, 2017). “[A] showing of nexus
does not require direct evidence and may be based on reasonable inference from the
facts presented based on common sense and experience.” United States v. Singh, 390
F.3d 168, 182 (2d Cir. 2004). Indeed, the existence of an indictment “supports a finding
of probable cause to believe a crime was committed.” United States v. Pirk, 292 F. Supp.
3d 584, 589 (W.D.N.Y. 2017).

Here, the warrant application contained ample support for Judge Schroeder’s

probable cause finding. The charges in the Indictment were themselves sufficient to
establish probable cause that Gerace conspired to traffic narcotics and that he engaged
in other illegal activities. See United States v. Mouzon, 16 CR 284, 2016 WL 7188150, at
*4 (S.D.N.Y. Dec. 2, 2016) (judge issuing search warrant could have relied solely on facts
in indictment to establish probable cause that defendant engaged in criminal activity);
United States v. Lahey, 967 F. Supp. 2d 698, 726 n.33 (S.D.N.Y. 2013) (case law
"suggest[s] that the fact that the Grand Jury had already returned [an] [i]ndictment against
[the defendant]. . ., without more, supports probable cause to search his residence");
United States v. Feng Ling Liu, No. 12 Cr. 93, 2014 WL 101672, at *5 (S.D.N.Y. Jan. 10,
2014) (citing cases approving practice of relying on indictment to establish probable
cause). Agent Ryan then provided a nexus between the criminal activities charged in the
Indictment and the object to be searched by explaining that drug traffickers often use cell
phones to store addresses and phone numbers of criminal associates; to take photos and
videos of drugs, drug proceeds, and criminal associates; and to communicate through
text and voice messages about their illegal activities. See United States v. Brown, 676 F.
Supp. 2d 220 (S.D.N.Y. 2009) (issuing magistrate permitted to rely on affiant’s opinion
that cellphone would likely contain evidence of criminal activity “as well as the
commonsense notion that an individual engaged in a conspiracy may have evidence of
that conspiracy, including telephone numbers and other contact information...on
communication devices used by that individual.”). Moreover, "[c]ourts have commonly []
found probable cause to search cellphones possessed by defendants arrested in
connection with ongoing drug-distribution crimes based on the experience of agents
familiar with narcotics trafficking that traffickers commonly use cellphones to

communicate in the course of their narcotics distribution, as well as to store relevant
information, including the names and contact information of suppliers, purchasers, and
confederates.” United States v. Hoey, 15 Cr. 229, 2016 U.S. Dist. LEXIS 7261 (S.D.NLY.
Jan. 21, 2016) (collecting cases). The warrant application here was additionally supported
by corroborating information that Gerace used his cell phone to communicate with
Bongiovanni and other potential co-conspirators, and that witnesses reported observing
Gerace use cocaine and provide cocaine to others.®

Gerace contends that the information in the warrant application was stale, and
therefore insufficient to establish probable cause, because the affidavit failed to specify
that the conspiracy allegations in the Indictment ended anywhere from 15 to 27 months
before law enforcement seized Gerace’s phone and applied for the warrant. Defendant
similarly argues that the information was stale because no time frame was provided as to
when witnesses purportedly saw Gerace use and distribute cocaine, and because the
application did not set forth the dates of communication between Gerace and his co-

conspirators. The Court disagrees.?

 

’ The Court rejects defendant’s argument that probable cause was lacking because the
application did not establish an indica of reliability as to the witnesses who provided information
about Gerace’s cocaine use. As noted above, the Indictment served as probable cause that
Gerace engaged in a conspiracy to distribute narcotics. Information that witnesses saw Gerace
use and provide others with cocaine corroborated the allegations of the Indictment. Thus, even
without information as to the reliability or credibility of these witnesses, the search warrant
application still contained sufficient probable cause to believe that a crime was committed, and
that evidence of a crime was located on Gerace’s phone.

° At the time he moved against the search warrants, Gerace requested an evidentiary hearing
pursuant to Franks v. Delaware, 438 U.S. 154 (1978). (Dkt. No. 147) He argued that Agent
Ryan purposefully omitted the dates of the conspiracy charges in the Indictment, as well as the
dates of alleged communications between Gerace and his co-conspirators, to hide the fact that
law enforcement’s information was stale. After briefing and oral argument, this Court denied
Gerace’s request for a Franks hearing because the allegations of staleness and lack of probable
cause could be determined from the four-corners of the warrant application, and because
Gerace failed to make a substantial showing that the omission of information was designed to
mislead or was made in reckless disregard of misleading the issuing judge. (Dkt. Nos. 174, 201)
Gerace appealed, and on December 7, 2021, the District Court affirmed this Court’s denial of
defendant's request for a Franks Hearing. (Dkt. Nos. 223)

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Generally, “the facts in an affidaivt supporting a search warrant must be sufficiently
close in time to the issuance of the warrant and the subsequent search conducted so that
probable cause can be said to exist as of the time of the search and not simply as of some
time in the past.” United States v. Wagner, 989 F.2d 69, 75 (2d Cir. 1993). However, there
is no “bright-line rule for staleness.” /d. Instead, the determination “must be made on the
basis of the facts of each case.” United States v. Martino, 664 F.2d 860, 867 (2d Cir.
1981). The two critical factors in determining whether facts supporting a search warrant
are stale are “the age of those facts and the nature of the conduct alleged to have violated
the law.” /d. To that end, when facts supporting the warrant “present a picture of
continuing conduct or an ongoing activity...the passage of time between the last
described act and the presentation of the application becomes less significant.” /d.

Narcotics conspiracies, in particular, represent “the very paradigm of continuing
enterprises for which courts have relaxed the temporal requirements of non-staleness.”
United States v. Rowell, 903 F.2d 899, 903 (2d Cir. 1990) (internal quotations marks and
citations omitted). Consequently, courts in the Second Circuit have found probable cause
to remain current in narcotics cases, like this one, even when the gap between the most
recent information and the search was substantial. For example, in Rivera v. United
States, the Second Circuit noted that its precedents have upheld relying on information
"22 days to 18 months old" in search warrant applications related to ongoing narcotics
investigations. 928 F.2d 592, 602 (2d Cir. 1991) (in the context of narcotics conspiracies,
“intervals of weeks or months between the last described act and the application for a

warrant [does] not necessarily make the information stale). The same rationale is to be

 

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applied here, where Gerace’s alleged criminal conduct was not a singular and isolated
incident but instead part of a conspiracy to distribute narcotics, bribe a public official, and
engage in other illegal activity over a sustained period of time. See e.g., Singh, 390 F.3d
at 181-82 (no staleness from lapse of twenty months between information in affidavit and
the search warrant application where alleged criminal activity was of an ongoing and long-
term nature); Rowell, 903 F.2d at 903 (finding that an eighteen-month delay from the
informant's statement to the wiretap application was not stale in a narcotics conspiracy).

The type of the evidence at issue here also supports a finding that the information
in the warrant application was not stale. “Staleness is highly relevant to the legality of a
search for a perishable or consumable object, like cocaine, but is rarely relevant when it
is a computer file. Computer and computer equipment are ‘not the type of evidence that
rapidly dissipates or degrades.” United States v. Seiver, 692 F.3d 774, 777 (7th Cir.
2012); quoting United States v. Vosburgh, 602 F.3d 512, 529 (3d Cir. 2010). Like a
computer, the cell phone seized from Gerace had the ability to retain large amounts of
personal data, photographs, communications, and other records for long periods of time.
Moreover, a cell phone is not the type of evidence that rapidly dissipates or degrades.
Thus, even though the dates of the alleged criminal activity ended months before the date
of the warrant application, there remained a substantial basis to believe that evidence of

criminality would be found on his Gerace’s phone."°

 

‘The Court rejects Gerace’s argument that the application is defective because it fails to show
that the seized phone was the same one used by Gerace during the conspiracy. Even if the
phone seized at the time of Gerace’s arrest was not the same phone used to communicate with
Bongiovanni and others, commonsense principles of data transfer and retention for modern cell
phones, as well as the ongoing nature of the criminal conduct alleged here, suggest that
relevant evidence would still have been stored on the phone in Gerace’s possession at the time
of his arrest.

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Given the nature of the conduct alleged and the evidence sought to be recovered,
and bearing in mind the substantial deference owed to a magistrate judge’s finding of
probable cause, it cannot be said that the gaps in time here rendered the information
stale. See United States v. Wells, 20 Cr. 633, 2021 U.S. Dist. LEXIS 224151 (S.D.NLY.
Nov. 18, 2021) (upholding warrants obtained approximately 10 to 14 months after the
last-dated criminal acts specified in the applications, since applications “detailed criminal
activity spanning many months, showed that this activity was part of a broader pattern of
fraudulent conduct, and indicated that evidence could be recovered from cellular devices
long after it was created.”). In other words, even if the warrant expressly stated that the
conspiracy allegations ended between 15 and 27 months before the seizure, probable
cause still would have existed for issuance of the warrant to search the cell phone.

Furthermore, had Agent Ryan’s affidavit provided an insufficient basis for the
probable cause determination, which it did not, the Court would still recommend that
defendant’s motion to suppress be denied. The Supreme Court has made clear that the
exclusionary rule should not be applied to evidence obtained by a police officer whose
reliance on a search warrant issued by a neutral and detached magistrate was based on
“objective good faith.” United States v. Leon, 468 U.S. 897, 918-23 (1984) (the
exclusionary rule “cannot be expected to apply, and should not be applied, to deter
objectively reasonable law enforcement activity”). There are four circumstances in which
the good faith exception does not apply: (1) where the issuing judge has been knowingly
misled; (2) where the issuing judge wholly abandoned his or her judicial role; (3) where
the application is so lacking in indica of probable cause as to render reliance on it

unreasonable; and (4) where the warrant is so facially deficient that reliance upon it is
unreasonable. United States v. Falso, 544 F.3d 110, 125 (2d Cir. 2008). None of these
circumstances apply here. The record is bereft of any evidence that Judge Schroeder
was knowingly misled or that he abandoned his judicial role. Also, for the myriad of
reasons just explained, it cannot be said that the warrant was so facially deficient, or so
lacking in probable cause, that the officers’ reliance on it was unreasonable. Indeed, as
the Supreme Court and the Second Circuit have held, an officer is not “required to
disbelieve a judge who has just advised him, by word and by action, that the warrant he
possesses authorizes him to conduct the search he requested.” United States v. Buck,
813 F.2d 588, 591 (2d Cir. 1987); quoting Massachusetts v. Sheppard, 468 U.S. 981-90
(1984).

Warrants to Search Gerace’s Residence and Pharaoh’s"'

 

On November 29, 2019, this Court issued a warrant authorizing the search of
Gerace’s residence, located at 5145 Lexor Lane, Clarence, New York, and Pharaoh’s

Gentlemen’s Club, located at 999 Aero Drive, Cheektowaga, New York.'? (See 19-MJ-

 

In his pretrial motion, Gerace challenged the validity of the federal warrants to search his
home and business. (Dkt. Nos. 147, 148) The Government responded that Gerace’s request
should be deemed waived because he “provides no evidence, makes no claims, and makes no
argument as to the [specific] basis for his request to suppress evidence.” (Dkt. No. 178, pg. 33)
Because Gerace has generally moved for suppression of evidence recovered from his home
and business pursuant to the federal warrants, and because these warrant applications remain
under seal, the Court will proceed to make a recommendation on the merits of Gerace’s
suppression motion.

2 Gerace submitted, in support of his suppression motions, a declaration stating that he has
owned and resided at 5145 Lexor Lane since June 25, 2018. (Dkt. No. 113-2) Thus, Gerace has
standing to challenge the search of his residence. Gerace submitted another declaration stating
that he is the sole shareholder in Pharaoh’s GC, Inc., a corporate entity. (Dkt. No. 132-2)
Gerace avers that he owns 100% of the business’s stock, worked there regularly, kept an office
there, maintained all business records, paid all the bills, and ordered all food, drink, and other
items for the business. (/d.) The Court is not convinced that these statements are sufficient to
establish Gerace’s standing as to Pharaoh’s. However, the Court need not reach this issue
since it concludes, for all the reasons stated infra, that the search of the business was lawful.

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05303) The warrant application was supported by, inter alia, a forty-one page affidavit by
Agent Ryan. (/d.) The search warrant affidavit provided a detailed description of an
ongoing investigation into alleged criminal activities by Gerace and others and included
detailed summaries of information obtained from numerous witnesses. (/d.) Further
attachments to the search warrant application included applications, affidavits and
attachments of other search warrants previously authorized and related to the facts of this
case. (/d.) On February 26, 2021, this Court authorized another warrant to search
Gerace’s residence at 5145 Lexor Lane. (See 21-MJ-5072) The February 26, 2021
warrant application included, inter alia, the entire application, affidavit, and attachments
previously submitted to this Court in support of the November 29, 2019 warrant. (/d.)
The Court has again reviewed, in camera, the complete applications, affidavits,
and attachments submitted in support of the February 26, 2021 and November 29, 2019
search warrants. Based on this review, the Court again finds a substantial basis to
conclude that evidence of criminality would be found at 5145 Lexor Lane (Gerace’s
residence) and 999 Aero Drive (Pharaoh’s Gentlemen’s Club). Thus, there was probable
cause to issue the search warrants for the residence and the business. Moreover, the
Court finds that even if the search warrants had been issued without sufficient probable
cause, which they were not, the good faith exception to the exclusionary rule would
prevent suppression here. Like the circumstances of the cell phone search warrant, the
record here is wholly devoid of evidence that any exception to Leon would apply as to the

warrants to search Gerace’s home and business.

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For all of these reasons, the Court finds no basis to suppress evidence recovered
from Gerace’s residence, Pharaoh’s Gentlemen’s Club, or Gerace’s cell phone, and
recommends that defendant’s motion to suppress evidence be denied in its entirety.

Motion to Dismiss Counts 7 and 9 of the Indictment

Gerace moves to dismiss Count 7, charging him with maintaining a drug-involved
premises, in violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2. (Dkt. No. 147, pgs. 4-
5) He also moves to dismiss Count 9, charging him with conspiracy to commit sex
trafficking, in violation of 18 U.S.C. § 1594(c). (/d.) Defendant submits that Counts 7 and
9 must be dismissed for “lack of specificity” pursuant to Rule 12(b)(3)(B)(iii) of the Federal
Rules of Criminal Procedure. (/d.)

An indictment “must be a plain, concise, and definite written statement of the
essential facts constituting the offense.” United States v. Stringer, 730 F.3d 120, 123-24
(2d Cir. 2013); accord Fed. R. Crim. P. 7(c)(1). Similarly, a count is properly pled if it “first,
contains the elements of the offense charged and fairly informs a defendant of the charge
against which he must defend, and, second, enables him to plead an acquittal of
conviction in bar of future prosecutions for the same offense.” Hamling v. United States,
418 U.S. 87, 117 (1974). To meet this standard, the indictment “need do little more than
to track the language of the statute charged and state the time and place (in approximate
terms) of the alleged crime.” Sfringer, 730 F.3d at 124 (quotations omitted). Provided
“charges in the indictment have stated the elements of the offense and provided minimal
protection against double jeopardy,” the Second Circuit “has ‘repeatedly refused, in
absence of any showing of prejudice, to dismiss charges for lack of specificity.” /d.;

quoting United States v. Walsh, 194 F.3d 37, 45 (2d Cir. 1999). See also United States

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v. Smith, 985 F. Supp. 2d 547, 561 (S.D.N.Y. 2014) (a defendant moving to dismiss a
count in the indictment “faces a high standard in seeking to dismiss[.]’).

A charge of maintaining a drug-involved premises requires the Government to
prove that a defendant knowingly maintained any place, whether permanently or
temporarily, for the purpose of manufacturing, distributing, or using any controlled
substance, or that he aided and abetted another in doing so. See 21 U.S.C. § 856(a)(1);
18 U.S.C. § 2. Here, Count 7 of the Indictment tracks the language of this statute by
alleging that, between 2006 and continuing until on or about December 12, 2019, Gerace
knowingly used and maintained Pharaoh's, located at 999 Aero Drive, Cheektowaga,
New York, for the purpose of manufacturing, distributing, and using controlled
substances, including cocaine, cocaine base, methamphetamine, amphetamine, heroin,
and marijuana. In fact, not only does Count 7 track the language of the statute, but it also
provides (1) the address of the premises used or maintained; (2) the specific types of
illegal narcotics involved; and (3) a time frame as to the alleged illegal activity. Thus,
Count 7 properly contains the elements of the offense charged and informs Gerace of the
charges against which he must defend, providing him protection against double jeopardy.

No additional specificity is required.

 

' The Court rejects Gerace’s argument that Count 7 is defective for lack of specificity because it
does not allege any specific instances where defendant “manufactured” illegal substances at
Pharaoh’s, as opposed to using or distributing them there. First, Count 7 tracks the language of
the statute and contains enough information to apprise Gerace of the charge against him.
Moreover, Rule 7(c) does not require the Government to allege specific instances of each
means of violating a statute. “An indictment may charge alternative ways of violating a statute in
the conjunctive, and a conviction under such an indictment will be sustained if the evidence
justified a finding that the statute was violated in any of the ways alleged.” United States v.
Astolas, 487 F.2d 275, 280 (2d Cir. 1973).

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To prove Gerace guilty of Count 9, the Government must prove that defendant
conspired with at least one other individual to commit the substantive crime of sex
trafficking by force, fraud, or coercion, as defined by 18 U.S.C. § 1591(a), (b)(1). See 18
U.S.C. § 1594(c). Count 9 alleges that, beginning in or about 2009 and continuing to in
or about 2018, Gerace unlawfully conspired with others, known and unknown, to
“knowingly recruit, entice, harbor, transport, provide, obtain and maintain, by means, in
and affecting interstate and foreign commerce, persons, and to benefit, financially and by
receiving anything of value, from participation in a venture with has engaged in such acts,
knowing and in reckless disregard of the fact that means of force, fraud and coercion, and
a combination of such means, would be used to cause such persons to engage in a
commercial sex act, in violation of Title 18, United States Code, Section 1591(a) and
1591(b)(1).” (Dkt. No. 89)

Count 9 sufficiently tracks the relevant language of both the applicable conspiracy
statute as well as the sex trafficking by force, fraud, or coercion statute. Indeed, it is well
established that an indictment for conspiracy to commit a criminal offense may be stated
with less specificity than an indictment charging the commission of that substantive
offense. See United States v. LaSpina, 299 F.3d 165, 177 (2d Cir. 2002). Instead, an
indictment charging conspiracy "need only put the defendants on notice that they are
being charged with a conspiracy to commit the underlying offense." United States v.
Wydermyer, 51 F.3d 319, 325 (2d Cir. 1994). Count 9 satisfies this requirement. It alleges
that there was an agreement; approximately when and where that agreement was made

or put into practice; and the substantive offense for which that agreement was formed.

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Count 9 adequately informs Gerace of the charges against him so as to protect him from
double jeopardy. No further specificity is needed.

The Court rejects Gerace’s argument that Count 9 is defective because it fails to
allege any overt or substantive act taken in furtherance of the conspiracy. Unlike the
general conspiracy provision of 18 U.S.C. § 371, the Government need not allege or prove
an overt act to sustain a sex trafficking conspiracy conviction charged pursuant to 18
U.S.C. § 1594(c). See United States v. Pascacio-Rodriguez, 749 F.3d 353, 362 n. 42 (5th
Cir. 2014) (noting that Section 1594 does not require the government to prove that an
overt act was committed in furtherance of the conspiracy); United States v. Wilson, 10-
60102, 2010 WL 2991561, at *5, n. 1 (S.D. Fla. Jul. 27, 2010) (holding that conspiracy
under section 1594(c) is proved by establishing that the defendant agreed to cause the
victim to engage in a commercial sex act and does not require proof of an overt act).
Likewise, the Court rejects Gerace’s argument that Count 9 is insufficiently specific
because it fails to identify any victim; how the victim was enticed or recruited; and what
specific threat, coercion, or fraud is alleged to have been used against the victim. Gerace
is essentially asking for evidentiary details and an explanation as to how the Government
will prove this charge at trial. Such specificity is plainly not required under Rule 7(c) and
the case law discussed above."

For these reasons, it is recommended that Gerace’s motion to dismiss Count 7

and Count 9 of the Indictment be denied.

 

'4 The Government represents that the information Gerace seeks regarding Count 9, including
the identity of the alleged victims, the specific commercial sex acts alleged, and the specific
types of fraud, force, or coercion used, either has been or will be provided to defendant during
discovery and/or in pretrial disclosures, to the extent that such material is relevant and
“otherwise appropriate for disclosure.” Dkt. No. 178, pg. 21.

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Motion to Strike Prejudicial Surplusage

Gerace moves to strike all references to “IOC” or “Italian Organized Crime” from
the Indictment.'® (Dkt. Nos. 147, pgs. 1-3; 250) He argues that references to Italian
Organized Crime are extremely prejudicial and not relevant to any genuine issues in the
case.

The Federal Rules of Criminal Procedure provide that “the court on motion of the
defendant may strike surplusage from the indictment.” See Fed. R. Crim. P. 7(d). Courts
in this Circuit have made clear that motions to strike surplusage are granted only where
the challenged assertions are “not relevant to the crime charged and are inflammatory
and prejudicial.” United States v. Scarpa, 913 F.2d 993 (2d Cir. 1990). “If evidence of the
allegation is admissible and relevant to the charge, then regardless of how prejudicial the
language is, it may not be stricken.” United States v. DePalma, 461 F. Supp. 778, 797
(S.D.N.Y. 1978). Because the standard for surplusage is exacting, only rarely is alleged
surplusage stricken or removed from an indictment. /d.

Here, the Indictment does not allege that Gerace was a member of, or associated
with, 1|OC. The Indictment does allege, however, that Bongiovanni believed that Gerace
and others were associated with IOC, and that this belief served as motivation, at least in
part, for Bongiovanni’s actions in accepting bribes in exchange for helping Gerace and
others avoid criminal prosecution for drug trafficking. Likewise, the Government proffers
that, at trial, it will introduce evidence that Bongiovanni believed, or had reason to believe,
that Gerace and others were connected to IOC, and that he unlawfully manipulated his

position as a DEA special agent to ingratiate himself with these individuals by accepting

 

'5 Together with his motion, defendant provides a chart listing all references to IOC or Italian
Organized Crime in the Indictment. (Dkt. No. 250-1)

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their bribes and helping them avoid apprehension and prosecution. Therefore, it appears
that the allegations in the Indictment related to IOC are relevant and likely admissible as
to Bongiovanni’s motive for engaging in bribery and conspiring to defraud the United
States and the DEA. See United States v. Blum, 62 F.3d 63, 68 (2d. Cir. 1995) (noting
that evidence directly related to showing motive is plainly admissible).

For the reasons just stated, Gerace has not satisfied the exacting standard
required for striking references to IOC from the Indictment at this juncture of the case.
However, this matter has not yet proceeded to trial and this Court is not aware of all
specific evidence and testimony the Government intends to introduce to the jury. In
addition, Judge Sinatra will preside over the trial of this case and will ultimately decide on
the admissibility of all such evidence. Should the District Judge determine, at the time of
trial, that evidence of Bongiovanni’s desire to ingratiate himself with perceived members
of IOC is not admissible, or should the Government fail to offer any admissible evidence
to support this theory, the analysis here may change. Moreover, it is the trial court that
will determine whether the Indictment is submitted to the jury, when it is submitted, and
in what form. “It is axiomatic that an indictment is merely an allegation and proof of
nothing. The court routinely instructs the jury on this point. Secondly, there is nothing in
the law that requires submission of the indictment to the jury. While the court may elect
to do so, the ultimate decision to submit it in its entirety, or in some redacted form, will
depend on the nature of the trial evidence when the time comes for making that decision.”
United States v. Johnson Contracting of WNY, Inc., 11-CR-00241, 2012 U.S. Dist. LEXIS
169086 (W.D.N.Y. Sept. 18, 2012); quoting United States v. Bruno, 1:09-CR-29, 2009

U.S. Dist. LEXIS 74278 (N.D.N.Y. Aug. 21, 2009).

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For these reasons, Gerace’s motion to strike surplusage from the Indictment is
denied, without prejudice to renewal before Judge Sinaira at the time of trial.

Motion to Disclose Grand Jury Evidence and Instructions

 

Gerace moves for disclosure of all grand jury evidence, testimony or instructions
that reference “ltalian Organized Crime’, “IOC”, “La Cosa Nostra”, or “LNC.” (Dkt. Nos.
147, 265, 250, 277) Defendant submits that any reference to Italian Organized Crime or
similar terms during grand jury proceedings was prejudicial and inflammatory, and that a
disclosure of grand jury material is authorized where defense establishes that a ground
may exist to dismiss the indictment. See Fed. R. Crim. P. 6(e)(E)(ii)."®

“The function of the grand jury is to inquire into all information that might possibly
bear on its investigation until it has identified an offense or has satisfied itself that none
has occurred.” United States v. R. Enterprises, Inc., 498 U.S. 292, 297 (1991) (citations
and punctuations omitted). As a result of its investigatory function, “the grand jury paints
with a broad brush.” /d. Further, grand jury proceedings are entitled to a “presumption of
regularity”, Hamling v. United States, 418 U.S. 87, 139 n. 23 (1974), and “the law
presumes, absent a strong showing to the contrary, that a grand jury acts within the
legitimate scope of its authority.” R. Enterprises, Inc., 498 U.S. at 300. Moreover, law in

this Circuit is clear that grand jury proceedings receive a presumption of secrecy and

 

'6 The Government previously provided defendant with redacted grand jury transcripts of the
testimony of seven members of law enforcement. (Dkt. No. 274, pg. 3) Thus, defendant is in
possession of at least some of the testimony and evidence presented to the grand jury in this
case. Defendant now indicates that a review of the portions of grand jury testimony provided to
him “revealed the rampant introduction of hearsay evidence of an extremely prejudicial nature.”
Thus, it appears that defendant’s request for additional grand jury material was prompted, at
least in part, by his review of material already provided by the Government. To the extent the
Court discusses specific grand jury testimony by law enforcement in the context of this motion,
that testimony has already been provided to defense counsel and was discussed in the briefing
by both parties.

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closure. In re Grand Jury Subpoena, 103 F.3d 234, 239 (2d Cir. 1996). Because of these
principles, a defendant seeking disclosure of grand jury minutes must show a
particularized need, in that (1) the material sought is necessary to avoid a possible
injustice in another judicial proceeding, which defendant alleges here is the Indictment
and pending criminal case against him; (2) the need for disclosure outweighs the need
for continued secrecy, and (3) the request is structured to cover only what is needed. /d.

The Court finds that defendant has not satisfied the high burden of demonstrating
a particularized need for the disclosure of additional grand jury material, nor has he
established any potential basis to dismiss the Indictment based on the grand jury
proceedings. To that end, the Court rejects defendant’s argument that the prejudicial
nature of references to Italian Organized Crime “improperly undermined the grand jury’s
independence in violation of Mr. Gerace’s constitutional right to an unbiased grand jury.”
Instead, the record demonstrates that to the extent the grand jury heard references to
Italian Organized Crime, those references were relevant to the allegations and evidence
presented against Bongiovanni, Gerace and their co-conspirators. Moreover, references
to Italian Organized Crime and similar terms appear to be part and parcel of the res gestae
of events that was being investigated by the grand jury. For instance, the Indictment
alleges that Bongiovanni believed that Gerace and other co-conspirators were connected
to IOC, and that this belief partially motivated Bongiovanni’s criminal conduct.'” In

addition, a retired FBI agent testified, before the grand jury, that in 2009, he was intent on

 

7 The Government stated during oral argument that individuals will testify at trial that
Bongiovanni made statements indicating that he believed Masecchia was a “made guy” within
Italian Organized Crime. In addition, the Indictment alleges that on or about July 11, 2013,
Bongiovanni received an email from a fellow law enforcement agent advising him, in part, that
“Masecchia is an associate and possibly made member of the Buffalo LCN family.” (Dkt. No. 89)

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investigating “mafia” presence in Buffalo, New York. The agent explained that he received
information that Gerace was distributing cocaine, and that he believed that if he was able
to “flip” Gerace as a cooperator, it would potentially help further his investigation into
“mafia” activities in Buffalo.'® The agent further testified that Bongiovanni invited him to
participate in a meeting with Bongiovanni and Gerace, and that Bongiovanni later asked
the agent about his investigation of Gerace. As a result of these conversations, the agent
received the impression that Gerace was Bongiovanni’s informant, and the agent ceased
investigating Gerace at that time. Further, a Niagara Falls police detective testified, before
the grand jury, that he worked on an Organized Crime Drug Enforcement Task Force
investigation called “Operation Past Due”, which entailed investigating a collection agency
used to distribute narcotics and launder money. The officer testified that he believed some
of the targets named in “Operation Past Due” were involved in traditional Italian Organized
Crime. He further testified that documents regarding Operation Past Due were discovered
in Bongiovanni’s home after his retirement, and that Bongiovanni, who was not part of the
investigation, had no reason for possessing these documents.

The testimony cited in these examples illustrates that real or perceived
connections to Italian Organized Crime by co-conspirators constituted relevant evidence
that was within the scope of the grand jury’s investigation. Indeed, the testimony tended
to show that members of law enforcement believed that Gerace and other potential co-
conspirators were connected to, or associated with, Italian Organized Crime. Moreover,

it tended to show that Bongiovanni may have shared that belief, and that this belief may

 

'8 According to defendant, the agent also testified that it was his belief that Gerace may have
information about Italian Organized Crime as a result of his family relationships. To this end,

defendant alleges that there was testimony that Gerace’s father held a position with Laborers
Local 210, and that this labor union was associated with IOC.

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have motivated him, in part, to shield Gerace and others from criminal prosecution. The
testimony in question was also directly relevant to at least two overt acts in the conspiracy
charge, namely that Bongiovanni caused an agent to cease an investigation of Gerace
by falsely representing that Gerace was his confidential informant and that Bongiovanni
improperly removed a file related to Operation Past Due from the DEA Resident Office
and concealed it in his home. Thus, it cannot be said that the Government introduced
testimony about Italian Organized Crime without a foundation of relevancy or solely to
inflame the grand jury.'® Absent such a showing of misconduct, there is no reason to
conclude that the need for disclosure of the additional grand jury transcripts outweighs
the need for secrecy or that disclosure is needed to prevent possible injustice in another
judicial proceeding. For these same reasons, the Court sees no need to review the grand
jury testimony in camera. See United States v. Torres, 901 F.2d 205, 233 (2d Cir. 1990)

(“Review of grand jury minutes is rarely permitted without specific factual allegations of

 

'. The facts here are distinguishable from the cases relied on by defendant. Indeed, those cases
involved the presentation of evidence or statements that were wholly irrelevant to the charges
being investigated or were designed only to inflame the grand jurors. See e.g., United States v.
Serubo, 604 F.2d 807 (3d Cir. 1979) (prosecutor commented upon the veracity of witnesses and
gave a graphic, misleading and irrelevant reference to “La Cosa Nostra hatchet men”); United
States v. Hogan, 712 F.2d 757 (2d Cir. 1983) (AUSA told grand jury that defendant was a “real
hoodlum”; presented evidence that defendant committed crimes unrelated to the drug charges
under investigation, including murder; and made himself an unsworn witness); United States v.
Vetere, 663 F. Supp. 381 (S.D.N.Y. 1981) (grand jurors presented with factual errors about the
offense and “non-relevant, highly prejudicial and erroneous information about [defendant's]
criminal record”); United States v. Hill, 88 Cr. 154, 1989 U.S. Dist. LEXIS 2791 (S.D.N.Y. Mar.
22, 2989) (evidence that defendant admitted he was a “five-time felony offender’ and that his
girlfriend accused him of selling crack and neglect was irrelevant to the crimes under
investigation); United States v. Leeper, 06-CR-58, 2006 U.S. Dist. LEXIS 32147 (W.D.N.Y. May
22, 2006) (grand jurors told that defendant had already been indicted for the offense by a
previous grand jury, that they were there only to correct an “oversight” or “omission in
paperwork”, and that a jury had already been picked and the trial had started).

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government misconduct.”).2°

Gerace further contends that references about his alleged or perceived
connections to Italian Organized Crime prevented the grand jury from acting impartially
and caused them to indict on this basis alone.”' This testimony, while indeed prejudicial
to Gerace, was also relevant to the conduct under investigation by the grand jury. Thus,
the references do not show impropriety, nor do they provide a basis for the Court to either
require further disclosure or review the materials in camera at this time. Indeed, much of
this testimony will ultimately be disclosed, before trial, when the Government provides
defendant with Jencks material pursuant to the District Court’s pretrial order. Moreover,
as noted previously, the grand jury’s investigatory powers are broad, and are not limited
to information or evidence that would be admissible at trial. To the extent the Government
seeks to introduce evidence about Italian Organized Crime to the jury at the time of trial,
Judge Sinatra will determine whether that specific evidence is relevant, whether it
constitutes hearsay, and whether it is unduly prejudicial. Moreover, limiting instructions
can be provided to the extent deemed appropriate and necessary by the District Court.

For all of these reasons, the Court denies defendant's motion for disclosure of

grand jury testimony.

 

20 To the extent defendant argues that grand jury testimony regarding lOC was “improper
hearsay”, this claim must also be rejected. The Rules of Evidence do not apply in grand jury
proceedings. See Fed. R. Evid. 1101(d)(2); R. Enterprises, inc., 498 U.S. at 298 (It is well-
established that hearsay is admissible in grand jury proceedings.) Defendant specifically
contends that the grand jury was improperly presented with “unsworn hearsay testimony of a
former Strike Force prosecutor that he would prosecute Gerace.” According to the Government,
the retired FBI agent discussed above testified that after he explained his investigation of
Gerace to Bongiovanni, Bongiovanni stated “nobody would ever prosecute that case.” The
agent further testified that, in response, he advised Bongiovanni of a [former AUSA] who
indicated he would prosecute. In light of the context of this discussion and the charges here, the
Court does not find the testimony to be improper.

21 Gerace notes that his ex-wife made public statements that she was a witness before the
grand jury in this case and that she testified about “organized crime in Buffalo.”

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Other Omnibus Demands

Bill of Particulars

Gerace moves for a bill of particulars pursuant to Rule 7(f) of the Federal Rules of
Criminal Procedure. (Dkt. No. 147, pgs. 5-11) Defendant seeks particularization as to,
inter alia, where the alleged criminal conduct occurred; the identities of all known co-
conspirators; the date, location and amount of each cash bribe alleged to have been paid
to Bongiovanni by Gerace; the date, time, location, type and amount of controlled
substances alleged to have been distributed; and the date, time, place and specifics of
the alleged sex trafficking, including the identity of victims and perpetrators and the
manner of coercion, enticement, or recruitment. (/d.) Gerace also seeks further details
regarding the conspiracy to defraud charge, including the identity of any other individuals
who provided payment or bribes to Bongiovanni; the specific information purportedly
provided by Bongiovanni to Gerace; and the identity of the federal agent who Bongiovanni
allegedly dissuaded from investigating Gerace and Pharaoh’s. (/d.)

Federal Rule of Criminal Procedure 7(f) “permits a defendant to seek a bill of
particulars in order to identify with sufficient particularity the nature of the charge pending
against him, thereby enabling defendant to prepare for trial, to prevent surprise, and to
interpose a plea of double jeopardy should he be prosecuted a second time for the same
offense.” United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987). However, “[t]he
Government may not be compelled to provide a bill of particulars disclosing the manner
in which it will attempt to prove the charges, the precise manner in which the defendants
committed the crimes charged, or a preview of the Government’s evidence or legal

theories.” United States v. Rittweger, 259 F. Supp. 2d 275, 291 (S.D.N.Y. 2003). In

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determining whether a bill of particulars is warranted, a court is to consider “the complexity
of the offense, the clarity of the indictment, and the degree of discovery otherwise afforded
to defendants.” United States v. Shoher, 555 F. Supp. 346, 349 (S.D.N.Y. 1983). It is well-
settled that acquisition of evidentiary detail is not the purpose of a bill of particulars. United
States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990). Further, a defendant is not generally
entitled to receive details of the government's conspiracy allegations through a bill of
particulars. United States v. Wilson, 493 F. Supp. 2d 364, 372 (E.D.N.Y. 2006).

The Indictment here is 45-pages long and provides a thorough explanation of the
charges, including a detailed explanation of how Gerace, Bongiovanni, and others
allegedly orchestrated a years-long scheme to defraud the United States and the DEA.
The charges are not difficult to understand. The Government essentially claims that
Gerace and others paid bribes to Bongiovanni, and that Bongiovanni used his position as
SA for the DEA to shield Gerace and others from investigation and prosecution for
narcotics distribution. The Indictment also alleges that Gerace conspired to distribute
various controlled substances, that he maintained a drug-involved premises at his
business (Pharaoh’s), and that he conspired to engage in the sex trafficking of women.
Further, the Government submits that it has provided extensive discovery that has
exceeded the requirements of Rule 16. The Government has apparently provided, inter
alia, flight records, phone records, evidentiary seizures, border crossing and border
search information, cell phone extraction data, and photos seized depicting defendants

in various locations outside of New York. (Dkt. No. 178, pg. 26) The Government also

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represents that it has made certain grand jury transcripts available at its offices for
defendant's review.” (/d.)

Considering allegations in the Indictment in conjunction with materials produced in
discovery, the Court finds that defendant has been provided with sufficient information to
inform him of the charges against him, prepare a defense, avoid surprise at trial, and
ensure against double jeopardy. The additional details sought by Gerace amount to an
attempt to use a bill of particulars as a discovery device. Stated another way, defendant
seeks information about the manner in which each violation occurred, but that would
impermissibly demand evidentiary detail and unduly intrude upon the Government's
theories. See United States v. Sattar, 272 F. Supp. 2d 348, 375 (S.D.N.Y. 2003) ("The
Government may not be compelled to provide a bill of particulars disclosing the manner
in which it will attempt to prove the charges, the precise manner in which the defendants
committed the crimes charged, or a preview of the Government's evidence or legal
theories."); United States v. Barret, 824 F. Supp. 2d 419, 439 (E.D.N.Y. 2011) (“the nature
of the wheres, when and with whoms of a conspiracy are frequently held to be beyond
the scope of a bill of particulars); United States v. Trippe, 171 F. Supp. 2d 230, 240
(S.D.N.Y. 2001) (denying request for “names of all co-conspirators and/or aidors and
abettors...of the defendant”); United States v. Taylor, 11CR85A, 2012 U.S. Dist. LEXIS
43111, (W.D.N.Y. Mar. 9, 2012) (denying bill of particulars for § 856 count alleging a four-

year time span); United States v. Ramos-Cruz, 11-CR-151-A, 2014 U.S. Dist. LEXIS

 

22 The Government also notes that defendant will be provided with pre-trial submissions in
accordance with the District Court’s scheduling order, including a Government witness list with
summaries of anticipated testimony; an exhibit list; a pre-trial memorandum; and Jencks and
Giglio material. (Dkt. No. 178, pg. 26)

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96825, (W.D.N.Y. July 16, 2014) (denying particularization on § 856 count where
indictment alleged the time span was from a date unknown to 2009).

For these reasons, Gerace’s request for a bill of particulars is denied.

Disclosure of Brady Material

Defendant moves for the disclosure of Brady material, including all pleadings and
the transcripts of all proceedings related to the District Court’s injunction against Gerace’s
New York State civil lawsuit against his ex-wife. (Dkt. No. 147, pgs. 14-15)

The Government has an obligation to disclose exculpatory material, or material
favorable to an accused as to either guilt or punishment, even when no affirmative request
has been made. Brady v. Maryland, 373 U.S. 83, 87 (1963). Material “favorable to an
accused” includes not only evidence that affirmatively tends to exculpate the defendant,
but also information that impeaches the credibility of Government witnesses. See Giglio
v. United States, 405 U.S. 150, 154-55 (1972). The test for materiality is whether “there
is a reasonable probability that, had the evidence been disclosed to the defense, the
result of the proceeding would have been different.” United States v. Bagley, 473 U.S.
667, 682 (1985). Evidence may be material for Brady purposes even if it is not admissible,
as long as it could lead to the discovery of admissible evidence. United States v. Gill, 297
F.3d 93, 104 (2d Cir. 2002). “[A]s a general rule, Brady and its progeny do not require
immediate disclosure of all exculpatory and impeachment material upon request by a
defendant.” United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). “[A]s long as a
defendant possesses Brady evidence in time for its effective use, the government has not
deprived the defendant of due process of law simply because it did not produce the

evidence sooner.” /d. at 144.

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The Government acknowledges its affirmative continuing duty to provide
defendant with exculpatory evidence, as well as evidence that the defense might use to
impeach the Government’s witnesses at trial. (Dkt. No. 178, pg. 49-50) The Government
also agrees to provide impeachment Brady material in accordance with the schedule set
by the District Court prior to trial and no later than when the Government produces and
delivers its Jencks materials. /d. Given the Government’s representations and for the
reasons just stated, defendant's motion to compel the production of Brady/Giglio material
is denied as moot. The Government is reminded of its continuing Brady obligations and,
consistent with Coppa, the Government shall timely disclose any Brady and Giglio
material to defendant. See United States v. Padovani, 14-CR-00224, 2016 WL 5402696,
at *4 (W.D.N.Y. Sept. 28, 2016).

With respect to his request for pleadings or other materials relevant to the
injunction issued by the District Court in the New York State civil lawsuit, defendant notes
that he is “aware that the injunctive proceedings occurred before the District Court and
agrees that the District Court should determine what is discoverable under Brady in this
respect.” (Dkt. No. 147, pgs. 14-15) Thus, to the extent defendant believes that there is
outstanding material related to this proceeding that he does not have and that qualifies
as Brady, he may renew his request before the District Court.

Preservation of Rough Notes

Gerace moves for an order requiring the preservation of all agent notes and/or
investigative notes related to this case, and requests that the Government compile a list
of any notes destroyed in the course of the investigation. (Dkt. No. 147, pg. 17) The

Government indicates that all federal law enforcement agents routinely retain notes taken
during investigations, and that the Government will request that agents continue to retain
their notes relevant to this investigation. (Dkt. No. 178, pgs. 53-54)

Defendant's motion for the preservation of rough notes is granted. The
Government notes that it is not aware of any document discoverable under Rule 16 or
under the Brady doctrine which was destroyed either before, during, or after the
investigation in this matter. (Dkt. No. 178, pg. 55) However, the Government states that
if it becomes aware of any items that were destroyed at any time in this investigation, the
Government will notify defendant at a reasonable time. (/d.)

Federal Rule of Evidence 807

 

Gerace requests prior notice of any statements the Government intends to offer at
trial pursuant to the residual hearsay exception set forth in Rule 807 of the Federal Rules
of Evidence. (Dkt. No. 147, pg. 17) The Government agrees that should it determine that
the residual exception to the hearsay rule applies, it will notify defendant of any such
statements it intends to introduce, prior to trial and in accordance with the District Court’s
pretrial order. (Dkt. No. 178, pg. 55)

Impeachment Material as to Hearsay Declarant

Gerace seeks disclosure of any evidence and/or other information in the
Government’s possession or control which would tend to impeach the credibility of any
hearsay declarant whose statement will be offered at trial. (Dkt. No. 147, pg. 18) Rule 806
of the Federal Rules of Evidence provides that where a hearsay statement is admitted,
the opposing party is permitted to attack the credibility of the declarant. The Government

acknowledges that this request falls under its Brady and/or Giglio obligations, and that it

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has committed to disclosing this information, prior to trial and in accordance with the
District Court’s pretrial order. (Dkt. No. 178, pg. 56)

Joinder

Gerace moves to join in all motions made by co-defendant Bongiovanni. (Dkt. No.
147, pg. 18) As noted above, the Court will address Bongiovanni’s pretrial motions in a
separate Report, Recommendation and Order. Gerace’s motion for joinder is granted.
Thus, to the extent relevant and applicable, the Court’s future decisions and findings with
respect to co-defendant’s motions will apply equally to Gerace.

Severance

Gerace moves to sever the counts in the Indictment that only charge co-defendant
Bongiovanni and seeks to sever the trial of defendant Gerace on Counts 2 and 8. (Dkt.
No. 147, pg. 3-4)

A request to sever either counts or defendants is best handled by the District
Judge, who will ultimately preside over the trial. See United States v. Mireles, 08 CR 34,
2009 U.S. Dist. LEXIS 109176 (WDNY Nov. 23, 2009) (Severance motions "are more
appropriately heard and determined by the trial court, which is in the best position to rule
on the issues presented.") Thus, Gerace’s motion for severance is denied without
prejudice to renew his request before Judge Sinatra.

Leave to Supplement and File Further Motions

Defendant asks for leave to make other and further motions and to supplement the
instant motions as may be deemed appropriate at a future date. (Dkt. No. 147, pg. 18) To
the extent that defendant intends to bring motions based upon new information or

evidence that has not yet been disclosed, his request for leave to file additional motions
is granted. To the extent that defendant intends to bring motions concerning issues that
could have been raised prior to the previous motion deadline, defendant’s request is
denied without prejudice to bring the motion upon a showing of good cause for the
untimely filing.
Government’s Request for Reciprocal Discovery

The Government moves for reciprocal discovery pursuant to Rule 16(b) of the
Federal Rules of Criminal Procedure including the opportunity to inspect, copy or
photograph books, papers, documents, photographs, tangible objects or copies or
portions thereof which are in the possession, custody or control of the defendant and
which the defendant intends to introduce as evidence at trial, the results or reports of any
physical or mental examinations or scientific tests or experiments made in connection
with the case which the defendant has in his possession and intends to introduce at trial,
and a written summary of any expert witness testimony. (Dkt. No 178, pg. 58.) The
Government also requests that defendant disclose any statements he intends to offer at
trial pursuant to Rule 807 of the Federal Rules of Civil Procedure. (/d.) The Government’s
motion for reciprocal discovery is granted, and defendant is reminded that his disclosure
obligations continue up through and during trial. See Fed. R. Crim. P. 16(c).

CONCLUSION

For the foregoing reasons, it is recommended that defendant Peter Gerace, Jr.’s
motion to suppress evidence and motion to dismiss Count 7 and Count 9 of the Indictment
be denied. (Dkt. Nos. 147, 148) It is ordered that defendant Peter Gerace, Jr.’s omnibus
discovery demands are decided in the manner detailed above (Dkt. Nos. 147, 148, 250,

265) and the Government's request for reciprocal discovery is granted (Dkt. No. 178).

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Pursuant to 28 U.S.C. §636(b)(1), it is hereby ordered that this Report,
Recommendation and Order be filed with the Clerk of Court.

Unless otherwise ordered by Judge Sinatra, any objections to the recommendation
portion of this Report, Recommendation and Order must be filed with the Clerk of Court
within fourteen days of service of this Report and Recommendation in accordance with
the above statute, Rules 59(b), 45(a), and 45(c) of the Federal Rules of Criminal
Procedure, and Local Rule of Criminal Procedure 59. Any requests for an extension of
this deadline must be made to Judge Sinatra.

Failure to file objections, or to request an extension of time to file objections,
within fourteen days of service of this Report, Recommendation and Order WAIVES
THE RIGHT TO APPEAL THE DISTRICT COURT’S ORDER. See Small v. Sec’y of
Health & Human Servs., 892 F.2d 15 (2d Cir. 1989).

The District Court will ordinarily refuse to consider de novo arguments, case law
and/or evidentiary material which could have been, but were not, presented to the
Magistrate Judge in the first instance. Pursuant to Local Rule of Criminal Procedure
59(c)(2), written objections “shall specifically identify the portions of the proposed findings
and recommendations to which objection is made and the basis for each objection, and
shall be supported by legal authority.” Failure to comply with these provisions may

result in the District Court’s refusal to consider the objection.

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SO ORDERED.

Dated: August 4, 2022
Buffalo, New York

MICHAEL J. ROEMER
United States Magistrate Judge

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